        Case 1:20-cv-02517-SDG Document 1 Filed 06/15/20 Page 1 of 6




               IN THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 JANICE THRASHER,
                                            REMOVED FROM THE STATE
       Plaintiff,                           COURT OF GWINNETT COUNTY,
                                            STATE OF GEORGIA;
 v.                                         CIVIL ACTION FILE NO.
                                            20-C-02854-S1
 HYATT HOTEL CORPORATION
 and HYATT CORPORATION,                     CIVIL ACTION FILE NO.

       Defendants.
                                            JURY TRIAL DEMANDED


                            NOTICE OF REMOVAL

      COMES NOW Defendant HYATT HOTELS CORPORATION (improperly

named in the Complaint as Defendant HYATT HOTEL CORPORATION) and

Defendant HYATT CORPORATION (collectively “Defendants”), by and through

undersigned counsel, and pursuant to 28 U.S.C. § 1446 hereby file notice of the

removal of the civil action now pending in the State Court of Gwinnett County, State

of Georgia, Civil Action File No. 20-C-02854-S1, styled as Janice Thrasher v Hyatt

Hotel Corporation and Hyatt Corporation (the “civil action”), respectfully showing

this Honorable Court as follows:

1.    On May 11, 2020, Plaintiff JANICE THRASHER (“Plaintiff”) filed the civil

      action in the State Court of Gwinnett County, State of Georgia. A copy of the
       Case 1:20-cv-02517-SDG Document 1 Filed 06/15/20 Page 2 of 6




     Summonses and Complaint served on Defendants are attached hereto

     collectively as “Exhibit A.”

2.   In the civil action, Plaintiff pursues causes of action for negligence, premises

     liability, vicarious liability, and negligent training & supervision arising out

     of a June 24, 2018, incident wherein Plaintiff alleges she slipped and fell down

     a stairwell. (Complaint ¶¶ 6, 12, 20, 24).

3.   In the civil action, Plaintiff seeks damages for pain and suffering and past and

     future medical expenses, in addition to all other damages allowable under

     Georgia law, including special damages, compensatory damages and

     consequential damages. Plaintiff also claims bad faith damages including

     costs and attorneys’ fees. (Complaint ¶¶ 27, 28). Plaintiff alleges that she

     incurred damages including a) “medical expenses;” b) future “pain,

     inconvenience, embarrassment, and mental anguish;” c) future deprivation of

     “ordinary pleasures of life, loss of well-being, and equanimity;” and that d)

     “her overall health, strength, and vitality have been greatly impaired.”

     (Complaint ¶ 7).

4.   Plaintiff’s Complaint does not include a prayer for a specific amount of

     damages. On May 4, 2020, however, counsel for Plaintiff submitted a pre-suit

     demand pursuant to O.C.G.A. § 51-12-14 offering to resolve Plaintiff’s claims
       Case 1:20-cv-02517-SDG Document 1 Filed 06/15/20 Page 3 of 6




     for $100,000.00. See generally Pretka v. Kolter City Plaza II, Inc., 608 F.3d

     744, 755 (11th Cir. 2010).

5.   Based on the allegations in Plaintiff’s Complaint and Plaintiff’s pre-suit

     demand seeking $100,000.00 for resolution of Plaintiff’s claims against

     Defendants, Defendants aver in good faith that the amount in controversy in

     the civil action exceeds $75,000.00 exclusive of interest, costs, and attorney’s

     fees.

6.   Because the amount in controversy in the civil action exceeds $75,000.00

     exclusive of interest, costs, and attorney’s fees, the amount in controversy

     requirement necessary for removal pursuant to 28 U.S.C. §§ 1332(a), 1441(b)

     is satisfied.

7.   At all times material, Plaintiff has been a resident of the State of Virginia.

     (Complaint ¶ 2).

8.   At all times material, Defendant HYATT HOTELS CORPORATION has

     been organized under the laws of the State of Delaware with its principal place

     of business in the State of Illinois.

9.   At all times material, Defendant HYATT CORPORATION has been

     organized under the laws of the State of Delaware with its principal place of

     business in the State of Illinois.
         Case 1:20-cv-02517-SDG Document 1 Filed 06/15/20 Page 4 of 6




10.   Because the civil action is between citizens of different States, removal on the

      basis of diversity should be allowed pursuant to 28 U.S.C. §§ 1332(a),

      1441(b).

11.   The civil action was commenced in the State Court of Gwinnett County, State

      of Georgia on May 11, 2020. The Registered Agent for Defendant HYATT

      HOTELS CORPORATION and Defendant HYATT CORPORATION was

      served with a copy of the Summons and Complaint on May 14, 2020.

      Accordingly this notice is timely filed pursuant to 28 U.S.C. § 1446(b)(1) and

      Fed. R. Civ. P. 6(a)(1)(C).

12.   Pursuant to 28 U.S.C. § 1446(d), Defendants have provided written notice to

      all adverse parties and has filed a copy of this Notice of Removal with the

      Clerk of the State Court of Gwinnett County, State of Georgia (A copy of the

      Notice of Filing of Notice of Removal submitted to the Clerk of the State

      Court of Gwinnett County, State of Georgia is attached hereto as “Exhibit B”).

      WHEREFORE, Defendant HYATT HOTELS CORPORATION and

Defendant HYATT CORPORATION respectfully submit this matter to this Court’s

jurisdiction and remove the civil action to this Court.

      This 15th day of June, 2020.
       Case 1:20-cv-02517-SDG Document 1 Filed 06/15/20 Page 5 of 6




                                     WILSON ELSER MOSKOWITZ
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         Case 1:20-cv-02517-SDG Document 1 Filed 06/15/20 Page 6 of 6




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                          CERTIFICATE OF SERVICE

      This is to certify that I have this 15th day of June, 2020, caused the within and
foregoing Notice of Removal to be served on all parties by US Mail with adequate
postage affixed and by using the E-File/CM/ECF electronic filing system which will
automatically send electronic notification of such filing to the following:

                         Nathaniel J. Middleton
             NATHANIAL J. MIDDLETON, ATTORNEY AT LAW
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                               Suite 515
                         Decatur, Georgia 30035
                    nathanieljmiddleton@gmail.com

                                              /s/ Devin P. Arnold
                                              Devin P. Arnold
